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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                Case No. 09-cr-79-PB

Nagasaki Gonzalez, et. al.



                                O R D E R

     Defendant Ernie Martinez, through counsel, has moved to

continue the trial scheduled for June 2, 2009, citing the need

for additional time to complete extensive discovery and engage in

plea negotiations or prepare for trial.         The government and co-

defendants do not object to a continuance of the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from June 2, 2009 to August 18, 2009.              In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The May 26, 2009 final pretrial conference is continued to

July 27, 2009 at 2:45 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

May 28, 2009

cc:   Mark Howard, Esq.
      Jonathan Saxe, Esq.
      James W. Dennehy, Esq.
      Arnold Huftalen, AUSA
      United States Probation
      United States Marshal




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